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                                   5                          IN THE UNITED STATES DISTRICT COURT
                                   6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   7
                                           IN RE: MCKINSEY & CO., INC.
                                   8                                                     Case No. 21-md-02996-CRB
                                           NATIONAL PRESCRIPTION OPIATE
                                   9       CONSULTANT LITIGATION
                                                                                         PRETRIAL ORDER NO. 1
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                                  11       This Order Relates to:

                                  12       ALL ACTIONS
Northern District of California
 United States District Court




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                                  14           The Judicial Panel on Multidistrict Litigation (“the Panel”) has transferred to this
                                  15   Court for consolidated pretrial proceedings certain lawsuits arising out of Defendants’ “role in
                                  16   providing advice to certain opioid manufacturers, most notably Purdue, in the form of sales
                                  17   and marketing strategies aimed at increasing sales of prescription opioid drugs.” See
                                  18   Transfer Order (dkt. 1).1 As the number and complexity of these actions warrant holding a
                                  19   single, coordinated initial case management conference for all actions, the Court ORDERS
                                  20   as follows:
                                  21           1. APPLICABILITY OF ORDER — Prior to the initial conference and entry of a
                                  22   comprehensive order governing all further proceedings in this case, the provisions of this
                                  23   Order shall govern the practice and procedure in those actions that were transferred to this
                                  24   Court by the Panel. This Order applies to all related cases filed in all divisions of the
                                  25   Northern District of California and all “tag-along actions” later filed in, removed to, or
                                  26   transferred to this Court.
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                                  28    Defendants are McKinsey & Company, Inc., McKinsey & Company, Inc. United States, and
                                       McKinsey & Company, Inc. Washington D.C. (collectively, “McKinsey”). See id. at 1 n.1.
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                                   1          2. CONSOLIDATION — The civil actions transferred to this Court or related to
                                   2   the actions already pending before this Court, or directly filed in the Northern District of
                                   3   California, will automatically be consolidated with this action without the necessity of
                                   4   future motions or orders. This consolidation does not constitute a determination that the
                                   5   actions should be consolidated for trial, nor does it have the effect of making any entity a
                                   6   party to any action in which he, she, or it has not been named, served, or added in
                                   7   accordance with the Federal Rules of Civil Procedure.
                                   8          3. DATE OF INITIAL CONFERENCE AND CONFERENCE AGENDA —
                                   9   The Court will conduct an initial conference on July 29, 2021, at 10:00 a.m. via Zoom
                                  10   Webinar. Lead counsel for all parties is required to appear at the conference. On or before
                                  11   July 22, 2021, Defendants shall file a written submission advising the Court as to:
                                  12              A. The status of all of the lawsuits pending in this MDL,2 and any potential tag-
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                                  13                  along lawsuits, including which plaintiffs have moved for remand;
                                  14              B. The steps Defendants have taken to preserve relevant evidence, including
                                  15                  electronically stored information;
                                  16              C. How and when Defendants propose that the Court address the impact, if any,
                                  17                  of the February 2021 settlement agreement between Defendants and the
                                  18                  Attorneys General (“the February 2021 Settlement”) on the various plaintiffs
                                  19                  here;
                                  20              D. When the Court can expect to receive a copy of the February 2021
                                  21                  Settlement agreement, as well as a compilation of the related final judgments
                                  22                  filed in each state;
                                  23              E. The status of the trove of McKinsey Documents that the February 2021
                                  24                  Settlement anticipates McKinsey producing to the Attorneys General; and
                                  25              F. Defendants’ position on liability in these lawsuits, broadly speaking.3
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                                         The Court does not need or want an update on the status of MDL No. 2804 — In re: National
                                       Prescription Opiate Litigation.
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                                         Defendants’ positions regarding liability will not be binding, will not waive claims or defenses,
                                       and may not be offered in evidence against them in later proceedings.
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                                   1          Defendants shall be prepared at the July 29, 2021 conference to answer questions
                                   2   from the Court regarding the written submission, litigation status, and evidence
                                   3   preservation. Plaintiffs’ counsel will be permitted to respond.
                                   4          4. APPOINTMENT OF PLAINTIFFS’ STEERING COMMITTEE — The
                                   5   Court anticipates appointing a Plaintiffs’ Steering Committee to conduct and coordinate
                                   6   the pretrial stage of this litigation with the Defendants. The Court also anticipates that the
                                   7   Plaintiffs’ Steering Committee will file a consolidated amended complaint. The Court will
                                   8   issue a further order governing the schedule and procedure for the appointment of a
                                   9   Plaintiffs’ Steering Committee and anticipates that the applications for appointment will be
                                  10   due August 12, 2021, responses/objections due August 19, 2021, with a hearing scheduled
                                  11   for September 2, 2021, at 10:00 a.m., although this schedule may change.
                                  12          5. MASTER DOCKET FILE — The Clerk of the Court will maintain a master
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                                  13   docket case file under the style “In re McKinsey & Co., Inc. National Prescription Opiate
                                  14   Consultant Litigation” and the identification “MDL 2996.” When a pleading is intended to
                                  15   apply to all actions, this shall be indicated by the words: “This Document Relates to: ALL
                                  16   ACTIONS.” When a pleading is intended to apply to fewer than all cases, this Court’s
                                  17   docket number for each individual case to which the document number relates shall appear
                                  18   immediately after the words “This Document Relates to.”
                                  19          6. FILING — Each attorney of record is obligated to become a Northern District
                                  20   of California ECF User and be assigned a user ID and password for access to the system.
                                  21   If she or he has not already done so, counsel shall register forthwith as an ECF User and be
                                  22   issued an ECF User ID and password. Forms and instructions can be found on the Court’s
                                  23   website at www.cand.uscourts.gov/cm-ecf. All documents shall be e-filed in the Master
                                  24   file, 21-MD-2996. Documents that pertain to one or only some of the pending actions
                                  25   shall also be e-filed in the individual case(s) to which the document pertains. Registration
                                  26   instructions for pro se parties who wish to e-file can be found on the Court’s website at
                                  27   www.cand.uscourts.gov/ECF.proseregistration.
                                  28          7. RESPONSE EXTENSION AND STAY — Defendants are granted an
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                                   1   extension of time for responding by motion or answer to the complaints until a date to be
                                   2   set by this Court. Pending further order of this Court, all outstanding discovery
                                   3   proceedings are stayed, and no further discovery shall be initiated. Moreover, all pending
                                   4   motions must be renoticed for resolution once the Court sets a schedule for any such
                                   5   motions.
                                   6          8. PRESERVATION OF EVIDENCE — All parties and counsel are reminded of
                                   7   their duty to preserve evidence that may be relevant to this action, including electronically
                                   8   stored information. Any evidence preservation order previously entered in any of the
                                   9   transferred actions shall remain in full force and effect until further order of the Court.
                                  10   Until the parties reach an agreement on a preservation plan for all cases or the Court orders
                                  11   otherwise, each party shall take reasonable steps to preserve all evidence that may be
                                  12   relevant to this litigation. Counsel, as officers of the court, are obligated to exercise all
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                                  13   reasonable efforts to identify and notify parties and non-parties, including employees of
                                  14   corporate or institutional parties, of their preservation obligations.
                                  15          9. CASE WEBSITE — The Court will maintain a website—accessible to counsel,
                                  16   parties, the public and the press free of charge—at In re: McKinsey & Company, Inc.,
                                  17   National Prescription Opiate Consultant Litigation (MDL No. 2996) | United States District Court,

                                  18   Northern District of California (uscourts.gov). The website will include a list of dates and

                                  19   times of upcoming proceedings, along with significant court orders and other documents.
                                  20          10. COMMUNICATION WITH THE COURT — Unless otherwise ordered by
                                  21   this Court, all substantive communications with the Court shall be in writing and e-filed.
                                  22   The Court recognizes that cooperation by and among Plaintiffs’ counsel and by and among
                                  23   Defendants’ counsel is essential for the orderly and expeditious resolution of this litigation.
                                  24   The communication of information among and between Plaintiffs’ counsel and among and
                                  25   between Defendants’ counsel shall not be deemed a waiver of the attorney-client privilege
                                  26   or the protection afforded attorneys’ work product, and cooperative efforts contemplated
                                  27   above shall in no way be used against any Plaintiff by any Defendant or against any
                                  28   Defendant by any Plaintiff. Nothing contained in this provision shall be construed to limit
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                                   1   the rights of any party or counsel to assert the attorney-client privilege or attorney work
                                   2   product doctrine.
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                                   4          IT IS SO ORDERED.
                                   5          Dated: June 25, 2021
                                                                                         CHARLES R. BREYER
                                   6                                                     United States District Judge
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